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 2                             UNITED STATES DISTRICT COURT
 3                                     DISTRICT OF NEVADA
 4                                                   ***

 5   UNITED STATES OF AMERICA,           )
                                         )
 6                     Plaintiff,        )                       2:08-cr-0311-RLH-GWF
                                         )
 7         vs.                           )                              ORDER
                                         )
 8   ARMEN PALIKYAN, et al.,             )
                                         )
 9                     Defendant.        )
     ____________________________________)
10

11                  Before this Court is the Order and Recommendations of United States Magistrate

12   Judge (#222, filed March 17, 2010), entered by the Honorable George W. Foley regarding Defen-

13   dant Dosunkulov’s Motions for Joinder (##220, 221, filed filed February 23, 2010). No objection

14   was filed to Magistrate Judge Foley’s Order and Recommendations of United States Magistrate

15   Judge in accordance with Local Rule IB 3-2 of the Rules of Practice of the United States District

16   Court for the District of Nevada, and the matter was submitted for consideration.

17                  The Court has conducted a de novo review of the record in this case in accordance

18   with 28 U.S.C. §636(b)(1)(B) and (C) and Local Rule IB 3-2 and determines that the Report and

19   Recommendations of Magistrate Judge Foley should be accepted and adopted.

20                  IT IS THEREFORE ORDERED that Magistrate Judge Foley’s Order and Recom-

21   mendations (#222) is ACCEPTED and ADOPTED, the joinders are granted and Defendant

22   Dosunkulov’s Motion to Dismiss All Counts For Investigation Resulting in a Due Process Violation

23   pursuant to Joinder is denied.

24                  Dated: April 7, 2010.

25
                                                         _________________________________
26                                                       ROGER L. HUNT
                                                         Chief U.S. District Judge
